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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

 PETER A. GRANDPRE                                                    CIVIL ACTION

 VERSUS                                                                   NO. 22-1923

 MARLIN GUSMAN, ET AL.                                              SECTION: “J”(3)


                      REPORT AND RECOMMENDATION

       Defendants Deputy R. Johnson, Deputy L. Johnson, Jr., Deputy C. Clark,

Deputy D. McDonald, Deputy M. Dozier, and Deputy D. Cruse (collectively,

“Defendants”) have filed a motion to dismiss (Rec. Doc. 14). Having considered the

parties’ memoranda, the record, and the applicable law, it is recommended that the

defendants’ motion be denied.

I.     Background

       Plaintiff, Peter A. Grandpre, a state pretrial detainee, alleges claims arising

from his incarceration at the Orleans Justice Center (“OJC”) and the Louisiana State

Penitentiary (“LSP”). 1 Defendants moved to dismiss under Rule 12(b)(6) of the

Federal Rules of Civil Procedure. 2 Defendants urged three arguments: (1) plaintiff’s

grievance was untimely; (2) plaintiff did not exhaust the administrative grievance

process by filing a grievance appeal; and (3) plaintiff alleges only a de minimis injury.




1 Rec. Doc. 1.

2 Rec. Doc. 14.




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Plaintiff filed no response. 3 A Report and Recommendation issued recommending

that the motion be granted because plaintiff’s grievance was untimely. 4

      Plaintiff objected to that Report and Recommendation. 5 The United States

District Judge declined to adopt that Report and Recommendation, concluding:

      An inmate’s ignorance of a prison’s grievance procedures does not excuse
      the inmate’s noncompliance, but inmates should also have fair,
      reasonable opportunities for discovering the procedural rules governing
      their grievances. In this case, the jail’s procedural rules provided to
      Grandpre appear to either eliminate the ninety-day deadline included
      in the state statutes and administrative code or mislead inmates on the
      requirements to timely exhaust the grievance process. Based on this
      record, there is no reason that Grandpre should not be entitled to rely
      on the representations of his jailers. Therefore, the first step of the jail’s
      grievance process was unavailable to Grandpre, and dismissal on this
      basis alone was not warranted. 6

The matter was recommitted to the United States Magistrate Judge to allow for

consideration of Defendants’ remaining arguments. 7 On April 12, 2024, the matter

was reallotted to the undersigned United States Magistrate Judge. 8




3 Plaintiff later explained that he filed no opposition “due to being housed on 3-C pod

lockdown segregation at the Orleans Justice Center and deprived of writing
materials, legal documentation and other legal property.” Rec. Doc. 27-1, p. 1.
4 Rec. Doc. 15.

5 Rec. Doc. 27.

6 Rec. Doc. 28, p. 4 (footnote, citations, quotation marks, and brackets omitted).

7 Id. at p. 5.

8 Rec. Doc. 29.




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II.     Standard of Law

      A. Rule 12(b)(6)

        Rule 12(b)(6) of the Federal Rules of Civil Procedure allows a party to move to

dismiss a complaint for failure to state a claim upon which relief can be granted.

Dismissal is appropriate when a plaintiff has not pleaded enough facts to “state a

claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 547 (2007)). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

A defendant may use a Rule 12(b)(6) motion to assert affirmative defenses, including

non-exhaustion. Dismissal on that basis, however, is appropriate only if the defense

is evident on the face of the complaint. See Hamilton v. Promise Healthcare, No. 23-

30190, 2023 WL 6635076, at *3 (5th Cir. Oct. 12, 2023). The party asserting an

affirmative defense bears the burden to show that it applies. See id.

      B. The PLRA’s Exhaustion Requirement

        “In an effort to address the large number of prisoner complaints filed in federal

court, Congress enacted the Prison Litigation Reform Act of 1995 (PLRA), 110 Stat.

1321-71, as amended, 42 U.S.C. § 1997e et seq.” Jones v. Bock, 549 U.S. 199, 202,

(2007). The PLRA requires that a plaintiff complaining about prison conditions

exhaust administrative grievance remedies before suing. See id. (citing 42 U.S.C. §

1997e(a)). Failure to exhaust, however, is an affirmative defense under the PLRA. Id.




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at 216. Accordingly, “inmates are not required to specially plead or demonstrate

exhaustion in their complaints.” Id.

III.   Analysis

       A.     Defendants’ exhaustion argument fails as a matter of law
              because it impermissibly requires plaintiff to allege facts
              rebutting an affirmative defense.

       The defendants seek dismissal because plaintiff did not pursue the second,

appellate step of the Administrative Remedy Procedure (“ARP”). 9 Specifically,

Defendants argue that “there is no evidence from the face of the Complaint that the

second step of the process was completed and thus Plaintiff did not properly exhaust

his claim.” 10 But “inmates are not required to specially plead or demonstrate

exhaustion in their complaints.” Jones, 549 U.S. at 216. Dismissal under Rule 12(b)(6)

is appropriate only when a plaintiff’s own allegations demonstrate the affirmative

defense of non-exhaustion. See, e.g., Hamilton v. Promise Healthcare, No. 23-30190,

2023 WL 6635076, at *3 (5th Cir. Oct. 12, 2023) (citing cases).

       The plaintiff’s allegations do not demonstrate non-exhaustion. And, although

the plaintiff attached grievance forms to his complaint, the attachments do not

demonstrate that plaintiff failed to exhaust the process. 11 Further, these attachments


9 Rec. 14-1, p. 5; see id. at pp. 6-7; see also La. Admin. Code tit. 22, § 325(J)(1)(b).

10 Rec. Doc. 14-1, p. 7 (emphasis added).

11 For example, a computer log attached to the complaint suggests that a grievance

was filed on January 12, 2022, and inmate legal services provided the plaintiff with
a “1983 form packet” on January 19, 2022. Rec. Doc. 1-1, p. 16. See also Rec. Doc. 27-
1, p. 7 (discussing plaintiff’s understanding of the role of the 1983 complaint form
packet).


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appear to be in response to instructions from a court-provided form. 12 The Fifth

Circuit has repeatedly held that an inmate’s responses to questions from the court,

whether through a complaint form or Spears hearing, cannot justify dismissal for

failure to state a claim based on non-exhaustion. See, e.g., McDonald v. Cain, 426 F.

App’x 332, 333 (5th Cir. 2011) (“The prohibition against requiring prisoners to

affirmatively plead exhaustion has been further interpreted by this court to

encompass questions in ‘form complaint[s]’ issued by district courts that are designed

to elicit ‘information about [a prisoner’s] exhaustion of administrative remedies.’”);

see also Hamilton, 2023 WL 6635076, at *3. Defendants’ failure to identify allegations

in the complaint demonstrating non-exhaustion requires the denial of their motion.

          B.     Defendants’ exhaustion argument also fails because of the
                 District Court’s prior ruling and because of a factual dispute.

          The District Court determined that the administrative grievance process was

unavailable to plaintiff because “the jail’s procedural rules provided to Grandpre

appear to either eliminate the ninety-day deadline included in the state statutes and

administrative code or mislead inmates on the requirements to timely exhaust the

grievance process.” 13 Given that the first step was unavailable, the issue of whether

plaintiff would have pursued a second-step appeal is moot.




12
     Rec. Doc. 1-1, p. 14.
13 Rec. Doc. 28, p. 4.




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      Further, the parties’ competing assertions indicate that there is a factual

dispute about whether the ARP applies to the plaintiff’s claims. 14 The defendants

contend that it does. But they cite no support for this position. And the plaintiff states

that the ARP does not apply. 15 In support, he has provided putative sections from a

Sheriff’s Office handbook reflecting that a different grievance system may be in place

at OJC. 16 This factual dispute further supports the denial of the motion.

      C. Plaintiff has alleged more than a de minimis injury.

      In the alternative, defendants argue that plaintiff’s excessive force claim

should be dismissed because he has failed to allege that he suffered more than a de

minimis injury.

      The Fourteenth Amendment’s Due Process Clause provides pretrial detainees

with the right to be free from excessive force. Boyd v. McNamara, 74 F.4th 662, 667

n.3 (5th Cir. 2023), cert. denied, 144 S. Ct. 562 (2024). To prevail on an excessive force

claim, a detainee must show “that the force purposely or knowingly used against him

was objectively unreasonable.” Kingsley v. Hendrickson, 576 U.S. 389, 397 (2015).

Whether force is objectively unreasonable requires consideration of context:




14 The state’s ARP states that “[o]ffenders housed in local jail facilities shall also be

afford reasonable access to a grievance remedy procedure,” La. Admin. Code tit. 22,
§ 325(C) (emphasis added), but it does not specify that the local jail facilities must
use the state’s ARP.
15 See Rec. Doc. 27-1, pp. 6-7 and 9.

16 Rec. Doc. 27-2, pp. 5-6.




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      Considerations such as the following may bear on the reasonableness or
      unreasonableness of the force used: the relationship between the need
      for the use of force and the amount of force used; the extent of the
      plaintiff’s injury; any effort made by the officer to temper or to limit the
      amount of force; the severity of the security problem at issue; the threat
      reasonably perceived by the officer; and whether the plaintiff was
      actively resisting.

Id. (emphasis added).

      Relatedly, “the amount of injury required to prevail in an excessive force action

depends on the context in which the injury occurs.” Ikerd v. Blair, 101 F.3d 430, 434

(5th Cir. 1996) (emphasis added). 17 A plaintiff’s injury must be evaluated in

connection with the specific use of force in question. As the United States Fifth Circuit

Court of Appeals explained:

      Generally, to maintain a claim for excessive force, a plaintiff need not
      demonstrate a significant injury, but the injury must be more than de
      minimis. See Tarver v. City of Edna, 410 F.3d 745, 752 (5th Cir. 2005).
      Recently, this circuit has characterized the injury requirement as “a
      sliding scale, not a hard cutoff.” Buehler [v. Dear], 27 F.4th [969,] 982
      [(5th Cir. 2022)]. This approach treats the degree of injury – even if
      minor – as interrelated to the reasonableness and excessiveness of the
      officer’s force. “[A]lthough a de minimis injury is not cognizable, the
      extent of injury necessary to satisfy the injury requirement is ‘directly
      related to the amount of force that is constitutionally permissible under
      the circumstances.’” Alexander v. City of Round Rock, 854 F.3d 298, 309
      (5th Cir. 2017) (alternation in original) (quoting Brown v. Lynch, 524 F.
      App’x 69, 79 (5th Cir. 2013)).




17 Ikerd and several of the other cases cited herein involved excessive force claims

arising under the Fourth Amendment. The Fifth Circuit, however, “has treated the
standards for Fourth and Fourteenth Amendment excessive force claims as
interchangeable.” Austin v. City of Pasadena, 74 F.4th 312, 322 n.4 (5th Cir. 2023).


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Solis v. Serrett, 31 F.4th 975, 981 (5th Cir. 2022) (emphasis added). Accordingly,

whether a plaintiff’s injuries are de minimis requires consideration of the overall

context and reasonableness of the officer’s actions. See, e.g., Buehler, 27 F.4th at 982;

Scott v. White, 810 F. App’x 297, 300-01 (5th Cir. 2020); Alexander, 854 F.3d at 309.

           Defendants appear to characterize plaintiff’s excessive force claim as alleging

only that his handcuffs were too tight. 18 But that characterization is inconsistent with

the plaintiff’s description of the force and resulting injuries. Plaintiff alleges that he

“never put up any type of resistance” and did not “ever refuse any order because any

was never given.” 19 Plaintiff claims that, nonetheless, defendants used a shield to

slam him into a steel door, slammed him to the floor, choked him, and used a knee to

apply force and pressure to his back and shoulder. 20 See Sam v. Richard, 887 F.3d

710, 714 (5th Cir. 2018) (“[I]t was clearly established at the time of this incident that

pushing, kneeing, and slapping a suspect who is neither fleeing nor resisting is

excessive.”). The alleged resulting injuries include bleeding, swelling, bruising, and

cuts. 21

See id. (“Viewing the facts and evidence in the most favorable light, Sam’s alleged

injuries—which include minor bleeding—meet Alexander’s ‘some injury’ test.”).

Plaintiff has alleged more than a de minimis injury.



18 See Rec. Doc. 14-1, p. 8.

19 Rec. Doc. 1, p. 20.

20 See, e.g., Rec. Doc. 1, pp. 15-16 and 20.

21 See, e.g., Rec. Doc. 1, pp. 16, 18, and 20-21.




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                               RECOMMENDATION

      It is therefore RECOMMENDED that the motion to dismiss filed by Deputy

R. Johnson, Deputy L. Johnson, Jr., Deputy C. Clark, Deputy D. McDonald, Deputy

M. Dozier, and Deputy D. Cruse, Rec. Doc. 14, be DENIED.

      A party’s failure to file written objections to the proposed findings, conclusions,

and recommendation in a magistrate judge’s report and recommendation within 14

days after being served with a copy shall bar that party, except upon grounds of plain

error, from attacking on appeal the unobjected-to proposed factual findings and legal

conclusions accepted by the district court, provided that the party has been served

with notice that such consequences will result from a failure to object. 28 U.S.C.

§ 636(b)(1); Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir.

1996) (en banc).

      New Orleans, Louisiana, this 7th day of May, 2024.



                                        __________________________________________
                                        EVA J. DOSSIER
                                        UNITED STATES MAGISTRATE JUDGE




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